
*665OPINION.
Marquette:
Our decision is controlled by that in Appeal of Pan-American Hide Co., 1 B. T. A. 1249. The taxpayer endeavors to distinguish this appeal for the reason that the failure of the taxpayer to carry insurance was involuntary, as no company would assume the risk. The distinction is not fundamental.
It may be conservative accounting to set aside a portion of the income to a fund out of which a fire may be provided against in advance, but deductions permitted by the law in determining the taxable net income present a quite different question. The amount of the reserve does not constitute an ordinary and necessary business expense and is therefore not deductible. Appeal of William J. Ostheimer, 1 B. T. A. 18; Appeal of Consolidated Asphalt Co., 1 B. T. A. 79; Appeal of Uvalde Co., 1 B. T. A. 932.
Arundell not participating.
